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  Tonya Price v. The Kroger Co. and XYZ Corporations 1-3
  Superior Court of Cherokee County, State of Georgia
  Civil Action File Number: 21CVE2072


  Tonya Price v. The Kroger Co. and XYZ Corporations 1-3
  USDC, Northern District, Atlanta Division
  Civil Action File Number: TBD (Removal # 1:21-mi-99999)




       EXHIBIT A to DEFENDANT THE KROGER CO.’S NOTICE OF
                           REMOVAL



ALL DOCUMENTS FILED IN THE SUPERIOR COURT OF CHEROKEE COUNTY
                 IN CIVIL ACTION NO. 21CVE2072
                            Case 1:21-cv-05325-SCJ Document 1-1 Filed 12/30/21 Page 2 of 48
                                                                                                      Superior Court of Cherokee County
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                                                                                            THE KROGER CO.
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                                                                                              XYZ CORPORATIONS 1-3
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                                                     CHEROKEE
                IN THE SUPERIOR/STATE COURT OF ________________________ COUNTY

                                             STATE OF GEORGIA

                                                                    CIVIL ACTION
               TONYA PRICE
             ________________________________________                          21CVE2072
                                                                    NUMBER __________________

             ________________________________________

             ________________________________________
                                        PLAINTIFF
                                  Vs.

             ________________________________________
                THE KROGER CO.;

             ________________________________________
                XYZ CORPORATIONS 1-3

             ________________________________________
                                        DEFENDANT


                                                   SUMMONS

             TO THE ABOVE NAMED DEFENDANT:              THE KROGER CO.

                    You are hereby summoned and required to file with the Clerk of said court and
             serve upon the Plaintiff’s attorney, whose name and address is:
                                                     Catherine Payne, Esq.
                                                     PAYNE & DU TOIT
                                                2275 Marietta Blvd., Ste 270-245
                                                      Atlanta, GA 30318

             an answer to the complaint which is herewith served upon you, within 30 days after
             service of this summons upon you, exclusive of the day of service. If you fail to do so,
             judgment by default will be taken against you for the relief demanded in the complaint.
                                     11/30/2021
             This _______ day of ____________________, ________.


                                                     Clerk of Superior Court/State Court


                                                     By:__________________________________
                                                                                Deputy Clerk




             SC-1 Rev. 85


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                                                                                           Superior Court of Cherokee County
                                                                                                                    **E-Filed**
                                                                                                                   21CVE2072
                                                                                                      11/30/2021 2:11 PM RR
                                                                                                            Patty Baker, Clerk
                                IN THE SUPERIOR COURT OF CHEROKEE                    COUNTY                      Civil Division
                                             STATE OF GEORGIA

              TONYA PRICE,

                                         Plaintiff,                 JURY TRIAL DEMANDED

              vs.
                                                                    CIVIL ACTION
              THE KROGER CO.;                                                   21CVE2072
                                                                    FILE NO. _____________________
              XYZ CORPORATIONS 1-3


                                         Defendants.


                                                          COMPLAINT

                    COMES NOW, Plaintiff Tonya Price (hereinafter “Plaintiff”) and files this Complaint,

             alleging as follows:

                                       PARTIES, JURISDICTION AND VENUE

                                                              1.

                    Plaintiff is a resident of Georgia.

                                                              2.

                    Plaintiff submits to the jurisdiction and venue of this Court.

                                                              3.

                    Defendant, The Kroger Co. (hereinafter “Kroger”) is now, and at all times relevant to this

             Complaint, a corporation organized and existing under the laws of the State of Ohio. Kroger is

             registered to transact business within the State of Georgia and it owns and operates the Kroger

             Store located at 5339 Old Hwy 5, Woodstock, GA 30188 in Cherokee County.




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                                                                4.

                      Kroger may be served with a copy of the Summons and Complaint by serving

             its registered agent, CSC of Cobb County, Inc., at 192 Anderson Street SE, Suite 125, Marietta,

             GA, 30060 (in Cobb County).

                                                                5.

                      Defendant Kroger is subject to the jurisdiction of this Court.

                                                                6.

                      Defendant Kroger is subject to the venue of this Court.

                                                                7.

                      Defendant XYZ CORPORATIONS 1-3 are those entities whose identities are unknown to

             Plaintiff who are responsible in any manner for the ownership, operation, repair, and/or

             maintenance of the Kroger store located at 5339 Old Hwy 5, Woodstock, GA 30188 in Cherokee

             County. Defendants XYZ CORPORATIONS 1-3 are hereby named as Defendants to the extent

             that their conduct was wrongful, negligent, or otherwise tortious and led or contributed to harm to

             Plaintiff.

                                                                8.

                      Defendants XYZ CORPORATIONS 1-3 are subject to the jurisdiction and venue of this

             Court.

                                                          AGENCY

                                                                9.

                      Whenever in this Complaint it is alleged that any named Defendant did any act or thing,

             it is meant that said Defendant’s officers, agents, servants, employees, or representatives did such



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             act or thing and that at the time such act or thing was done, it was done with the full

             authorization or ratification of said Defendants or was done in the normal and routine course and

             scope of employment of said Defendants’ officers, agents, servants, employees or

             representatives.

                                                        BACKGROUND

                                                             10.

                    On December 15, 2019, Defendant Kroger was in legal possession of the Kroger retail store

             located at 5339 Old Hwy 5, Woodstock, GA 30188 in Cherokee County (the “Subject Premises”).

                                                             11.

                    On December 15, 2019, Defendant Kroger owned and operated the Subject Premises.

                                                             12.

                    On December 15, 2019, Plaintiff Tonya Price was an invitee at the Subject Premises and

             was on the premises for the purpose of purchasing goods from the Defendants.

                                                             13.

                    On December 15, 2019, while shopping at the Subject Premises, Plaintiff slipped on spilled

             milk that was on the floor, which constituted a hazardous condition on the Subject Premises.

                                                             14.

                    At the time of her fall, employees of Defendants, who were working within the course and

             scope of their employment, were in the immediate vicinity of Plaintiff when she fell.

                                                             15.

                    The hazardous condition by the milk was within the line of sight of Defendants’ employees

             both before and during Plaintiff’s fall.




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                                                                16.

                     Kroger employees that were in the area of the hazardous condition did see or should have

             seen the hazardous condition created by the milk.

                                                                17.

                     At all relevant times, an employee/agent of Kroger was responsible for cleaning spilled

             products and/or placing a prominent warning sign to notify patrons of dangerous conditions,

             including spilled foreign substances on the floor.

                                                                18.

                     Kroger employees and/or agents saw the hazardous condition created by the milk.

                                                                19.

                     Kroger employees and/or agents should have seen the hazardous condition created by the

             milk.

                                                                20.

                     Kroger employees and/or agents should have but did not clean up the spill or otherwise

             place a sufficient warning sign to notify patrons of the dangerous condition.

                                                                21.

                     At all relevant times, Plaintiff exercised reasonable care for her safety. Plaintiff did nothing

             to contribute to this incident.

                                                       NEGLIGENCE

                                                                22.

                     Plaintiff realleges and incorporates herein the allegations contained in the preceding

             paragraphs of this Complaint above as if fully restated.



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                                                                23.

                    The milk upon which Plaintiff slipped was located in a heavy-traffic area and constituted

             a hazardous and unsafe condition on the premises.

                                                                24.

                    The Defendants, by and through their agents and employees, owed a duty to Plaintiff to

             keep all areas of the Subject Premises in a safe condition and breached that duty by failing to

             discover, observe, and correct the condition regarding the milk on the floor, which constituted a

             hazardous condition, and which caused Plaintiff to fall.

                                                                25.

                    Defendants are liable for the negligent acts and omissions of their employees and/or agents,

             under the theory of Respondeat Superior.

                                                                26.

                    At the time of the incident, Defendants negligently maintained an unsafe condition of the

             Subject Premises by allowing milk to remain on the floor.

                                                                27.

                    At the time of the incident, Defendants negligently maintained an unsafe condition of the

             Subject Premises by failing to inspect, at reasonable intervals, the condition of the floor to ensure,

             among other things, that there were no foreign substances or items on the floor or other dangerous

             conditions.

                                                                28.




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                    Defendants failed to exercise care to inspect and maintain the Subject Premises in a safe

             condition.



                                                               29.

                    At the time of the incident, no warnings were posted which would have alerted Plaintiff to

             the presence of a foreign substance in the area in which the milk were located.

                                                               30.

                    Defendants, through their agents and employees, had superior knowledge regarding the

             unsafe condition of the Subject Premises.

                                                               31.

                    Prior to the injuries sustained by the Plaintiff, Defendants, through their agents and

             employees, had actual notice that the Subject Premises was in an unsafe condition.

                                                               32.

                    Prior to the injuries sustained by the Plaintiff, Defendants, through their agents and

             employees, had constructive notice that the Subject Premises was in an unsafe condition.

                                                               33.

                    Defendants knew or should have known that it was likely that injury would result to its

             invitees and other individuals on the property if the unsafe condition of the Subject Premises was

             not corrected.

                                                               34.

                    Defendants breached their duties to Plaintiff by failing to inspect and keep the Subject

             Premises safe and free of the hazard of foreign objects or substances on the floor, thereby allowing

             the premises to remain in an unsafe condition.



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                                                               35.

                    Defendants failed to warn Plaintiff of the hazardous condition on their property.

                                                               36.

                    Defendants were negligent in allowing the spilled milk to remain on the floor.

                                                               37.

                    Plaintiff’s fall was the direct result of the hazardous condition created by the spilled milk

             at the Subject Premises.

                                                               38.

                    As a direct and proximate result of Defendants' negligence, Plaintiff suffered severe

             physical injuries.

                                                        DAMAGES

                                                               39.

                    Plaintiff realleges and incorporates herein the allegations contained in the preceding

             paragraphs of this Complaint above as if fully restated.

                                                               40.

                    As a direct result of the incident proximately caused by the negligence of Defendants,

             Plaintiff has sustained serious and permanent injuries to her body, including but not limited to her

             neck, back, shoulders, and extremities, resulting in physical and emotional pain, suffering, and

             mental anguish.

                                                               41.

                    As a direct result of the incident proximately caused by the negligence of the Defendants,

             and as a direct result of the injuries suffered in said incident, Plaintiff has incurred extensive

             medical expenses.



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                                                               42.

                     Among other treatment, Plaintiff received multiple epidural injections, which helped

             temporarily, but did not relieve her symptoms. Plaintiff underwent a right shoulder surgery due to

             injuries sustained in the fall at the Subject Premises and has also been recommended to undergo a

             left L4-5 microdiscectomy with L5-S1 transforaminal lumbar interbody fusion.

                                                               43.

                     To date, Plaintiff has incurred medical expenses of not less than as follows:

                                   Wellstar Paulding Hospital                  $12,175.20
                                   Quantum Radiology                             $487.00
                                   The Bortolazzo Group                         $1,400.00
                                   Peachtree Rehab                              $5,405.00
                                   Benchmark Physical Therapy                  $11,662.00
                                   Medici Medical Arts                         $41,958.54
                                   North Fulton Anesthesia Associates           $3,600.00
                                   Key Health                                   $4,595.00
                                   Ortho Sport & Spine                         $90,675.44
                                   CoolSystems, Inc.                             $980.00
                                   Prescription Costs                            $384.49

                                                    Total                     $173,322.67


                     The above is not a fulsome list of her expenses, as they are still being calculated, and

             treatment is still ongoing.

                                                               44.

                     As a result of the actions and omissions of Defendant, Plaintiff will incur medical expenses

             in the future.

                                                               45.


                                                              8


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                     As a direct result of the incident proximately caused by the negligence of the Defendants,

             Plaintiff has experienced physical pain and suffering.

                                                                 46.

                     As a direct result of the incident proximately caused by the negligence of the Defendants,

             Plaintiff has incurred lost wages.

                                                                 47.

                     Each negligent act of the Defendants, or a combination thereof, was the direct and

             proximate cause of the incident and the physical injuries and damages suffered by Plaintiff.

                                                                 48.

                     As a result of the Defendants’ negligence, failure to keep safe and to maintain the premises,

             and failure to warn, Plaintiff is entitled to recover for the injuries she sustained, including the cost

             of her medical treatment, the cost of her future medical treatment, past and future pain and

             suffering, her lost income, and all other elements of damages as allowed under the laws of the

             State of Georgia.



                     WHEREFORE, the Plaintiff respectfully prays:

                 a) That summons be issued and that Defendants be served as provided by law;

                 b) That judgment be rendered for the Plaintiff against Defendants, in such amount a fair

                     and impartial jury may determine;

                 c) That all costs of this action be cast upon the Defendants;

                 d) That Plaintiff have such other and further relief as this Court may deem just and proper;

                     and

                 e) That all issues herein be submitted to a jury.



                                                                9


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                    This 30th day of November, 2021.



                                                       PAYNE & DU TOIT

                                                       __/s/ Catherine Payne ___________________
                                                       Catherine D. Payne
                                                       Georgia Bar No. 463911
                                                       Anne Marie du Toit
                                                       Georgia Bar No. 213320

                                                       2275 Marietta Blvd NW
                                                       Ste. 270-245
                                                       Atlanta, GA 30318-2019
                                                       cpayne@pdtfirm.com
                                                       adutoit@pdtfirm.com

                                                       Attorneys for Plaintiff




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                                                                                      Superior Court of Cherokee County
                                                                                                               **E-Filed**
                                                                                                              21CVE2072
                                                                                                 11/30/2021 2:11 PM RR
                                                                                                       Patty Baker, Clerk
                                IN THE SUPERIOR COURT OF CHEROKEE               COUNTY                      Civil Division
                                             STATE OF GEORGIA

              TONYA PRICE,

                                        Plaintiff,

              vs.
                                                                   CIVIL ACTION21CVE2072
              THE KROGER CO.;                                      FILE NO. _____________________
              XYZ CORPORATIONS 1-3


                                        Defendants.


                              PLAINTIFF’S FIRST REQUESTS FOR ADMISSION TO
                                      DEFENDANT THE KROGER CO.

                    COMES NOW, Plaintiff Tonya Price, by and through her counsel of record, and submits

             the following written Requests for Admission to Defendant The Kroger Co. (hereinafter

             “Defendant”), pursuant to O.C.G.A. § 9-11-36.

                    Answers to these Requests for Admission shall be served upon the attorney for the Plaintiff

             at the offices of Payne & du Toit, 2275 Marietta Blvd NW, Suite 270-245, Atlanta, GA 30318-

             2019 no later than forty-five (45) days after service of these Requests upon Defendant.

                                                      DEFINITIONS

                    As used herein, the terms listed below are defined as follows:

                1. “Subject Premises” means the Kroger retail premises located at 5339 Old Hwy 5,

                    Woodstock, GA 30188 in Cherokee County.

                2. “Subject Incident” means the fall described in Plaintiff’s Complaint that took place on

                    December 15, 2019 at the Subject Premises.

                3. “Plaintiff” means Plaintiff Tonya Price.




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                                             REQUESTS FOR ADMISSION

                                                         1.

                    Please admit that you have been correctly named as a party defendant in the present case

             insofar as the legal designation of name is concerned.

                                                         2.

                    Please admit that venue for this lawsuit is proper in Cherokee County.

                                                         3.

                    Please admit that you have been properly served with a copy of the Complaint in this

             lawsuit.

                                                         4.

                    Please admit that the Court in which the present action is pending does, in fact, have subject

             matter jurisdiction of the present cause.

                                                         5.

                    Please admit that on December 15, 2019, you were in legal possession of the Subject

             Premises.

                                                         6.

                    Please admit that on December 15, 2019, you owned and operated the Subject Premises.

                                                         7.

                    Please admit that on December 15, 2019, Plaintiff fell at the Subject Premises.

                                                         8.

                    Please admit that on December 15, 2019, Plaintiff slipped on milk at the Subject Premises,

             which caused her to fall.




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                                                             9.

                     Please admit that on December 15, 2019, there were individuals employed by you, who

             were working within the course and scope of their employment, in the immediate vicinity at the

             time of Plaintiff’s fall at the Subject Premises.

                                                             10.

                     Please admit that on December 15, 2019, for several hours prior to Plaintiff’s fall, there

             were individuals employed by you, who were working within the course and scope of their

             employment, in the immediate vicinity of the area in which Plaintiff fell.

                                                             11.

                     Please admit that on December 15, 2019, there were individuals employed by you, who

             were working within the course and scope of their employment, in the immediate vicinity of

             Plaintiff’s fall prior to the time that Plaintiff fell.

                                                             12.

                     Please admit that on December 15, 2019, there were individuals employed by you, who

             were working within the course and scope of their employment, in the immediate vicinity of

             Plaintiff’s fall prior to the time that Plaintiff fell, who saw the milk on the floor prior to Plaintiff’s

             fall.

                                                             13.

                     Please admit that on December 15, 2019, there were individuals employed by you, who

             were working within the course and scope of their employment, in the immediate vicinity of

             Plaintiff’s fall prior to the time that Plaintiff fell, who should have seen the milk on the floor prior

             to Plaintiff’s fall.




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                                                        14.

                    Please admit that Plaintiff was an invitee on the Subject Premises at the time of the Subject

             Incident.

                                                        15.

                    Please admit that at the time in question, there was milk on the floor where Plaintiff fell.

                                                        16.

                    Please admit that the milk which caused Plaintiff’s fall was within eyesight of individuals

             employed by you, who were working within the course and scope of their employment at the time

             of the Subject Incident.

                                                        17.

                    Please admit that individuals employed by you, who were working within the course and

             scope of their employment at the time of the Subject Incident, had an opportunity to clean up the

             milk prior to the occurrence of the Subject Incident.

                                                        18.

                    Please admit that on December 15, 2019, Plaintiff sustained injuries as a result of the fall

             described in the Complaint.

                                                        19.

                    Please admit that Plaintiff was not contributorily negligent with regard to the Subject

             Incident.

                                                        20.

                    Please admit that you were responsible for keeping the Subject Premises safe at the time

             that Plaintiff was present on December 15, 2019.




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                                                        21.

                    Please admit that your acts of negligence and breach of duty to keep the premises safe were

             the sole and proximate cause of the injuries sustained by Plaintiff.

                                                        22.

                    Please admit that Defendant was aware or should have been aware of the hazardous

             condition which existed on the floor and caused Plaintiff’s fall.




                    This 30th day of November, 2021.




                                                           PAYNE & DU TOIT

                                                           __/s/ Catherine Payne ___________________
                                                           Catherine D. Payne
                                                           Georgia Bar No. 463911
                                                           Anne Marie du Toit
                                                           Georgia Bar No. 213320

                                                           2275 Marietta Blvd NW
                                                           Ste. 270-245
                                                           Atlanta, GA 30318-2019
                                                           cpayne@pdtfirm.com
                                                           adutoit@pdtfirm.com

                                                           Attorneys for Plaintiff




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                                                                                      Superior Court of Cherokee County
                                                                                                               **E-Filed**
                                                                                                              21CVE2072
                                                                                                 11/30/2021 2:11 PM RR
                                                                                                       Patty Baker, Clerk
                                IN THE SUPERIOR COURT OF CHEROKEE               COUNTY                      Civil Division
                                             STATE OF GEORGIA

              TONYA PRICE,

                                         Plaintiff,

              vs.
                                                                    CIVIL ACTION
              THE KROGER CO.;                                                   21CVE2072
                                                                    FILE NO. _____________________
              XYZ CORPORATIONS 1-3


                                         Defendants.


                          PLAINTIFF’S FIRST CONTINUING INTERROGATORIES TO
                                      DEFENDANT THE KROGER CO.

                    COMES NOW Plaintiff Tonya Price (hereinafter “Plaintiff”), and pursuant to the

             provisions of O.C.G.A. § 9-11-33 serves upon Defendant The Kroger Co. (hereinafter

             “Defendant”) the following Interrogatories, and requests Defendant to answer said Interrogatories

             fully and in writing within the time allowed by law.

                                       INSTRUCTIONS AND DEFINITIONS

                    These Interrogatories are continuing, and if at any time after Defendant have initially

             responded to these Interrogatories, new or additional information responsive to any of these

             Interrogatories comes to the attention of or into the actual and/or constructive possession of

             Defendant within the scope of O.C.G.A. § 9-11-26, then Defendant is accordingly required to

             furnish such new or additional information to Plaintiff and to file and serve upon counsel for

             Plaintiff supplemental responses to these interrogatories.



                    A.      When used in these interrogatories, the terms “Kroger,” “Defendant,” “you,”

             “your,” or any synonym thereof, are intended to and shall embrace and include The Kroger Co.




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             designated in the Complaint unless otherwise specified. In addition, these terms are meant

             specifically to incorporate and encompass agents, servants, employees, representatives, private

             investigators, attorneys and others who are in possession of or may have obtained information for

             or on behalf of Defendant, individually and collectively.

                    B.      “Plaintiff” or “Plaintiffs” means Plaintiff Tonya Price.

                    C.      “Subject Premises” means the Kroger retail premises located at 5339 Old Hwy 5,

             Woodstock, GA 30188 in Cherokee County.

                    D.      “Subject Incident” means the fall described in Plaintiff’s Complaint that took place

             on December 15, 2019 at the Subject Premises.

                    E.      The terms “identification,” “identify” or “identity,” when used in reference to a

             natural person, shall mean to state the full name, the present or last known home and business

             addresses, home and business telephone numbers, their employer and job title and present

             whereabouts for each such person.

                    F.      The terms “identification,” “identify,” or “identity” when used in reference to a

             corporation or other entity or person, shall mean to state the full legal name, state of incorporation

             or organization, address of the home office, the principal place of business and registered agent

             for service of process.

                    G.      The terms “identification,” “identify,” or “identity,” when used in reference to a

             document or file shall mean its author, the manner and date or time period in which it originated,

             was developed or kept, its original location, its present location, and all persons who have been

             custodian of the document or file. Such identification should be made with a significant level of

             particularity to enable you to respond to a request to produce same.

                    H.      The words “related to” or “relating to” shall include pertaining to, concerning,



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             respecting, referring to, summarizing, digesting, embodying, reflecting, establishing, tending to

             establish, derogating from, tending not to establish, evidencing, comprising, concerned with,

             commencing on, responding to, disagreeing with, showing, describing, analyzing, representing,

             constituting, or including.

                    I.      The words “document” or “documents” are used in their broad and liberal sense

             and shall mean the original (or, if the original is not available, the best copy available) of any and

             all information in tangible or other form and shall include, without limiting the generality of the

             foregoing, all letters, correspondence, contracts, agreements, memoranda, mechanical and

             electronic recordings, calendar an diary entries, notes or memoranda of conversations, telephonic

             or otherwise, and of meetings or conferences, studies, reports, recommendations, quotations,

             offers, inquiries, bulletins, summaries, newsletters, compilations, specifications, maps, charts,

             blueprints, diagrams, graphs, photographs, pictures, film, videotapes, microfilm, propositions,

             articles, announcements, newspaper clippings, books, books of account, ledgers, vouchers,

             cancelled checks, invoices, bills, receipts, opinions, certificates, and writings of any kind, and all

             other tangible things upon which any handwriting, typing, printing, drawings, representation,

             photostatic or other copy, or other graphic matter, magnetic or electrical impulses, or other form

             of communication is recorded or produced, including audio and video recordings and computer

             stored information, whether or not in printer form and all rough drafts and revised drafts (including

             all handwritten notes or other marks on same), and all other drafts and copies of documents as

             hereinbefore defined by whatever means made. If multiple copies of a document exist, each copy

             which is being identified, produced, or identified as a privileged document shall also be produced

             or so identified. Also to be identified or produced are all documents clipped, stapled, or otherwise

             attached to all described or requested documents.



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                    J.      The words “person” or “persons” mean all natural persons (“individual” or

             “individuals”) and entities including without limitation: corporations, companies, partnerships,

             limited partnerships, joint ventures, trusts, estates, associations, public agencies, departments,

             bureaus or boards.

                    K.      A “communication” shall mean every manner or means of disclosure, transfer, or

             exchange of information whether orally or face-to-face or by telephone, mail, personal delivery,

             documents, and otherwise.

                    L.      The words “and” as well as “or” shall be construed either conjunctively or

             disjunctively as necessary to bring within the scope of these interrogatories any information which

             might otherwise be construed to be outside their scope.

                    M.      “All” includes the word “any,” and “any” includes the word “all.” “Each” includes

             the word “every” and “every” includes the words “each.”

                    N.      Should Defendants claim as privileged any document for which identification is

             requested by any of the following interrogatories, Defendants shall list each such document in such

             a manner to allow for its identification in the event of a motion to compel and, additionally,

             Defendants shall indicate the ground on which the claim of privilege, the date, author and title of

             each document, the portion of the document to which the claim of privilege extends and the identity

             of all persons, corporations or other entities to whom the document has been shown, in order that

             the Court can determine whether such document is, in fact, privileged.

                    O.      If you cannot answer any of the following interrogatories in full after exercising

             due diligence to secure the information to do so, so state and answer to the extent possible,

             specifying your inability to answer the remainder, and stating what information or knowledge you

             have concerning the unanswered portions.



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                                                    INTERROGATORIES

                                                              1.

                     Please provide your full corporate name, your primary or principal address, your state of

             incorporation, the date you opened the Kroger store located at 5339 Old Hwy 5, Woodstock, GA

             30188 in Cherokee County, the names and addresses of your corporate president, vice-president,

             secretary, and treasurer, and the names and current addresses of each manager working at or

             assigned to the store at issue in this litigation.

                                                              2.

                     Identify all persons who have investigated the subject Incident or have discussed the

             subject incident on your behalf with your representatives, attorneys, or insurers.

                                                              3.

                     Do you contend that you have been improperly named in the sense that the incorrect

             corporate entity has not been properly styled in the caption of this matter and/or that an improper

             or incorrect agent for service was utilized to effectuate service upon you? If your answer to either

             of these inquiries is “yes,” please provide a detailed explanation as to why you contend you have

             been improperly named or the agent used for service was improper, and provide the complete name

             of the entity you contend should have named and/or served.

                                                              4.

                     Do you contend that venue is improper in this Court, jurisdiction is lacking over you in this

             Court, or that service of process has been deficient on you in this matter? If so, please describe and

             state with specificity all factual and legal bases supporting any such contention(s).

                                                              5.

                     Other than your response to Interrogatory No. 4, do you contend that there are any factual



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             or legal bases upon which this matter should be dismissed as a matter of law? If so, please identify

             any such contentions and describe and state with specificity all factual and legal bases supporting

             any such contention(s).

                                                           6.

                    Please identify any manuals utilized in training Defendant’s employees which reference

             safety procedures for customers and/or items sold in Defendant’s stores in Georgia.

                                                           7.

                    Please identify every person who has any information about how or why the incident

             complained of in this case occurred, about who was at fault or in any way responsible for causing

             this incident, and about any other information pertaining to the issues of liability and/or damages

             in this case. Please include a brief description of the nature of such person’s knowledge; for

             example: eyewitness, investigating police officer, medical personnel, etc.

                                                           8.

                    Please state whether any of the above witnesses gave any statement(s) or account(s), either

             orally, in writing, or recorded in any way, of his or her knowledge of any information relevant in

             this lawsuit. If so, identify any witness(es) giving such statement(s) and provide an explanation of

             the type statement(s) given, whether oral, written, recorded or videotaped. Also, identify the taker

             and present custodian of such statement(s).

                                                           9.

                    Please identify all persons (whether medical providers, lay persons, or anyone else) who

             have any relevant information regarding Plaintiff’s health condition prior to or subsequent to the

             incident in this case, information regarding Plaintiff’s physical and mental suffering as a result of

             this incident, or any information regarding the issue of damages in this case.



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                                                           10.

                     Please identify any and all investigators, adjusters, claims representatives, or experts who

             have investigated the Subject Incident, examined or inspected the scene, or who have in any way

             investigated the claims made in this lawsuit on behalf of you, your attorneys, or your insurers.

                                                           11.

                     Please identify any person that you expect to call as an expert witness, whether live, by

             affidavit, or by deposition, in connection with any trial, hearing, or motion, as well as any other

             evidentiary hearing in this action, and, separately for each expert:

                        a) Identify the subject matter of which he or she is expected to testify;

                        b) Identify the substance of the facts and opinions as to which he or she is expected

                            to testify;

                        c) Summarize the grounds for such opinions; and

                        d) Identify all documents and professional references upon which such person may

                            base his or her testimony and opinions.

                                                           12.

                     Please list each act of negligence, contributory negligence, or comparative negligence you

             contend Plaintiff or any other person who is not a party to this action did or failed to do which in

             any way contributed to causing the subject incident and/or any of Plaintiff’s injuries. Please

             identify these persons and supply any statutory authority in support of these contentions, if any are

             made.

                                                           13.

                     Please state whether or not you, your attorneys, investigators, or other representatives know

             of any photographs, still or motion pictures, plans, drawings, blueprints, sketches, diagrams,



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             computer simulations, or any other type demonstrative evidence concerning the subject incident,

             the site of the subject incident, which in any way illustrate any facts relevant to the subject incident.

             As to each item, please state the nature of such item(s); how many of such item(s) exist; the name,

             address, and employer of the person making or supplying such item(s); and the identity of the

             person who presently possesses such item(s).

                                                             14.

                     Was Plaintiff’s fall captured or recorded on videotape in any way on any security and/or

             surveillance cameras? If yes, please identify all persons who are currently in possession of such

             videotapes.

                                                             15.

                     Please state whether or not an accident/incident report was made by you or any of your

             representatives in connection with the Subject Incident, and if so, to whom that report was sent

             and the place where such report is located.

                                                             16.

                     Please state in detail how you contend the Subject Incident took place and the order in

             which the events took place.

                                                             17.

                     At the time of Plaintiff’s injury, do you contend that any person or entity other than you

             and your employees and agents was responsible for the cleaning and maintenance of the Subject

             Premises? If so, please state each and every fact on which you base your contention and identify

             each and every writing that supports the contention.




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                                                           18.

                    Please identify each and every procedure manual, letter, memo, instruction manual and

             other writing that pertain to or concern in any way the cleaning and aisle maintenance of the

             Subject Premises.

                                                           19.

                    On the date of the Subject Incident, how frequently was the area cleaned where the incident

             allegedly occurred?

                                                           20.

                    Please provide the name of the employee(s) responsible for maintaining the condition of

             the store floor during the date and time of the alleged incident.

                                                           21.

                    On the date of the alleged incident, was the area where the incident occurred stocked or re-

             stocked, and if so, at what times?

                                                           22.

                    What equipment is used to clean, sweep or mop the area where the incident occurred?

                                                           23.

                    For each of your employees physically present at the Kroger store at issue in this litigation

             at the time and place of the incident, please state his or her name, address, and telephone number;

             his or her job title as of the date of the incident; whether she or he was on duty at the time of the

             incident; and the job function she or he was performing at the time of the incident.

                                                           24.

                    Identify, with sufficient particularity to allow Plaintiff to frame a notice to produce, any

             writings, including sweep sheets and maintenance logs, which support your answer to



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             Interrogatory No. 19. If said writings contain abbreviations or initials, define the abbreviations

             and state the full name, address, and telephone number of the person whose name is signified by

             the initials.

                                                             25.

                     Please describe all policies and procedures, including inspection and cleaning procedures,

             you had in place on December 15, 2019 to ensure the reasonable safety of customers and invitees

             using the premises at the Kroger store at issue in this litigation.

                                                             26.

                     Please provide the date and time you were first notified that there had been a fall with

             injuries on December 15, 2019 involving Plaintiff, and include the name and address of the person

             who notified you, the name and address of the person(s) at Defendant Kroger who was or were in

             fact notified, and your response to that notification.

                                                             27.

                     Please describe all safety precautions or other affirmative steps you took on December 15,

             2019 to reasonably ensure the safety in and around the area where the incident at issue in this

             litigation occurred in the Kroger store at issue in this litigation.

                                                             28.

                     Please identify by full name, date of hire, job title, and current employment status, each

             and every employee and/or agent of Defendant who had responsibility for inspecting, cleaning,

             warning about potentially hazardous conditions of, or otherwise reporting problems with the area

             in and around where Plaintiff in the Subject Premises on December 15, 2019.




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                                                            29.

                    For each employee and/or agent of Defendant identified in response to the previous

             interrogatory, please state whether or not said individual was reprimanded, suspended, or

             otherwise punished as a result of the subject incident. If an individual was reprimanded, suspended,

             or otherwise punished in any way, please describe such action fully (to include the date such action

             was taken).

                                                            30.

                    Please identify each and every claim, lawsuit, complaint, or other documented incident

             over the past five (5) years in which an individual alleged that Defendant caused or contributed to

             personal injuries sustained by said individual in a slip, fall, trip, or other similar incident in the

             Subject Premises.

                                                            31.

                    Please identify all persons who are supplying information to respond to these

             Interrogatories and to Plaintiffs’ Request for Production of Documents.

                                                            32.

                    Do you contend that Plaintiff did not fall at the place and time alleged in the Complaint? If

             your answer is in the affirmative, please:

                        a) State each and every fact on which you base the contention;

                        b) State the name, address, telephone number of each witness whose testimony would

                            support the contention;

                        c) Identify with sufficient particularity to allow Plaintiffs to frame a notice to produce,

                            each and every writing that supports the contention.




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                                                          33.

                    Please detail the factual and legal basis for each defense pled in your answer.




                    This 30th day of November, 2021.



                                                          PAYNE & DU TOIT

                                                          __/s/ Catherine Payne ___________________
                                                          Catherine D. Payne
                                                          Georgia Bar No. 463911
                                                          Anne Marie du Toit
                                                          Georgia Bar No. 213320

                                                          2275 Marietta Blvd NW
                                                          Ste. 270-245
                                                          Atlanta, GA 30318-2019
                                                          cpayne@pdtfirm.com
                                                          adutoit@pdtfirm.com

                                                          Attorneys for Plaintiff




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                                                                                          Superior Court of Cherokee County
                                                                                                                   **E-Filed**
                                                                                                                  21CVE2072
                                                                                                     11/30/2021 2:11 PM RR
                                                                                                           Patty Baker, Clerk
                                 IN THE SUPERIOR COURT OF CHEROKEE                  COUNTY                      Civil Division
                                              STATE OF GEORGIA

              TONYA PRICE,

                                         Plaintiff,

              vs.
                                                                     CIVIL ACTION
              THE KROGER CO.;                                                   21CVE2072
                                                                     FILE NO. _____________________
              XYZ CORPORATIONS 1-3


                                         Defendants.


                    PLAINTIFF’S FIRST REQUEST FOR PRODUCTION OF DOCUMENTS TO
                                     DEFENDANT THE KROGER CO.

                    COMES NOW Plaintiff Tonya Price (hereinafter “Plaintiff”), and pursuant to O.C.G.A.

             §9-11-34 hereby notifies Defendant The Kroger Co. (hereinafter “Defendant”) to produce within

             the time allotted by law or at the time of any deposition, hearing, or trial, in the above-styled case,

             whichever is sooner, the following documents, records, and things which are in Defendant’s

             possession, custody or control, the same to be used as evidence by Plaintiff. Said documents,

             records and things produced in response should be served upon counsel for Plaintiff by first class

             U.S. Mail or by statutory overnight delivery to the offices of Payne & du Toit, 2275 Marietta Blvd

             NW, Suite 270-245, Atlanta, Georgia 30318.

                                        INSTRUCTIONS AND DEFINITIONS

                    These Requests are continuing, and if at any time after Defendants have initially responded

             to these Requests, new or additional information responsive to any of these Requests comes to the

             attention of or into the actual and/or constructive possession of Defendants within the scope of

             O.C.G.A. § 9-11-26, then Defendants are accordingly required to furnish such new or additional




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             information to Plaintiff and to file and serve upon counsel for Plaintiff supplemental responses to

             these Requests.

                    A.      When used in these Requests, the terms “Kroger,” “Defendant,” “you,” “your,” or

             any synonym thereof, are intended to and shall embrace and include The Kroger Co. designated in

             the Complaint unless otherwise specified. In addition, these terms are meant specifically to

             incorporate and encompass agents, servants, employees, representatives, private investigators,

             attorneys and others who are in possession of or may have obtained information and/or

             documentation for or on behalf of Defendant, individually and collectively.

                    B.      “Plaintiff” or “Plaintiffs” means Plaintiff Tonya Price.

                    C.      “Subject Premises” means the Kroger retail premises located at 5339 Old Hwy 5,

             Woodstock, GA 30188 in Cherokee County.

                    D.      “Subject Incident” means the fall described in Plaintiff’s Complaint that took place

             on December 15, 2019 at the Subject Premises.

                    E.      The terms “identification,” “identify” or “identity,” when used in reference to a

             natural person, shall mean to state the full name, the present or last known home and business

             addresses, home and business telephone numbers, their employer and job title and present

             whereabouts for each such person.

                    F.      The terms “identification,” “identify,” or “identity” when used in reference to a

             corporation or other entity or person, shall mean to state the full legal name, state of incorporation

             or organization, address of the home office, the principal place of business and registered agent

             for service of process.

                    G.      The terms “identification,” “identify,” or “identity,” when used in reference to a

             document or file shall mean its author, the manner and date or time period in which it originated,



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             was developed or kept, its original location, its present location, and all persons who have been

             custodian of the document or file. Such identification should be made with a significant level of

             particularity to enable you to respond to a request to produce same.

                    H.      The words “related to” or “relating to” shall include pertaining to, concerning,

             respecting, referring to, summarizing, digesting, embodying, reflecting, establishing, tending to

             establish, derogating from, tending not to establish, evidencing, comprising, concerned with,

             commencing on, responding to, disagreeing with, showing, describing, analyzing, representing,

             constituting, or including.

                    I.      The words “document” or “documents” are used in their broad and liberal sense

             and shall mean the original (or, if the original is not available, the best copy available) of any and

             all information in tangible or other form and shall include, without limiting the generality of the

             foregoing, all letters, correspondence, contracts, agreements, memoranda, mechanical and

             electronic recordings, calendar an diary entries, notes or memoranda of conversations, telephonic

             or otherwise, and of meetings or conferences, studies, reports, recommendations, quotations,

             offers, inquiries, bulletins, summaries, newsletters, compilations, specifications, maps, charts,

             blueprints, diagrams, graphs, photographs, pictures, film, videotapes, microfilm, propositions,

             articles, announcements, newspaper clippings, books, books of account, ledgers, vouchers,

             cancelled checks, invoices, bills, receipts, opinions, certificates, and writings of any kind, and all

             other tangible things upon which any handwriting, typing, printing, drawings, representation,

             photostatic or other copy, or other graphic matter, magnetic or electrical impulses, or other form

             of communication is recorded or produced, including audio and video recordings and computer

             stored information, whether or not in printer form and all rough drafts and revised drafts (including

             all handwritten notes or other marks on same), and all other drafts and copies of documents as



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             hereinbefore defined by whatever means made. If multiple copies of a document exist, each copy

             which is being identified, produced, or identified as a privileged document shall also be produced

             or so identified. Also to be identified or produced are all documents clipped, stapled, or otherwise

             attached to all described or requested documents.

                    J.      The words “person” or “persons” mean all natural persons (“individual” or

             “individuals”) and entities including without limitation: corporations, companies, partnerships,

             limited partnerships, joint ventures, trusts, estates, associations, public agencies, departments,

             bureaus or boards.

                    K.      A “communication” shall mean every manner or means of disclosure, transfer, or

             exchange of information whether orally or face-to-face or by telephone, mail, personal delivery,

             documents, and otherwise.

                    L.      The words “and” as well as “or” shall be construed either conjunctively or

             disjunctively as necessary to bring within the scope of these interrogatories any information which

             might otherwise be construed to be outside their scope.

                    M.      “All” includes the word “any,” and “any” includes the word “all.” “Each” includes

             the word “every” and “every” includes the words “each.”

                    N.      Should Defendants claim as privileged any document for which identification is

             requested by any of the following Requests, Defendants shall list each such document in such a

             manner to allow for its identification in the event of a motion to compel and, additionally,

             Defendants shall indicate the ground on which the claim of privilege, the date, author and title of

             each document, the portion of the document to which the claim of privilege extends and the identity

             of all persons, corporations or other entities to whom the document has been shown, in order that

             the Court can determine whether such document is, in fact, privileged.



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                    O.         If you cannot produce documents, records, or things in response to any of the

             following requests in full after exercising due diligence to secure the information to do so, so state

             and answer to the extent possible, specifying your inability to produce any documents, records, or

             things, and stating what information or knowledge you have concerning the documents, records,

             or things that were not produced.

                    Pursuant to the above, Plaintiff hereby requests Defendants produce the following:

                                                 REQUESTS TO PRODUCE

                                                                1.

                        Please produce true, accurate and complete copies of all witness statements obtained from

              any person, including Plaintiff, about any information relevant to any issue in this lawsuit, or the

              subject incident, including but not limited to the issues of liability or damages.

                                                                2.

                        Please produce true, accurate and complete copies of any photographs, still or motion

              pictures, plans, drawings, blueprints, sketches, diagrams, computer simulations, or any other

              photographic, demonstrative or tangible evidence concerning the subject incident and/or

              concerning any of the issues relevant in this lawsuit, to include but not to be limited to the issues

              of liability and damages.

                                                                3.

                        Please produce a true, accurate and complete copy of any incident report prepared by you

              or on your behalf concerning the subject incident and/or any claim or potential claim arising of

              said incident.




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                                                                 4.

                        Please produce a true, accurate and complete copy of all policies of insurance, including

              the declarations pages that do or may afford liability insurance coverage to Defendants for the

              claims made in this lawsuit. This request includes primary insurance coverage, excess insurance

              coverage, umbrella coverage or any other type of liability insurance coverage.

                                                                 5.

                        Please produce true, accurate and complete copies of all reports received from any experts

              who have investigated any issue relevant to the subject incident. Also, produce all documents or

              other material or information in any form submitted to, or received from, each expert for their

              consideration in formulating their opinions and conclusions.

                                                                 6.


                        Please produce a true, accurate and complete copy of all claims forms, accident reports,

              incident reports or other documentation by any other name evidencing any other incidents over

              the past five (5) years in which an individual alleged that Defendants, its employees, and/or agents

              caused or contributed to personal injuries sustained in a slip, fall, trip, or other similar incident in

              the Subject Premises.

                                                                 7.

                        Please produce true, accurate and complete copies of any and all information sent to or

              received from or through any of your insurers concerning the incident giving rise to this litigation,

              including but not limited to documents in the possession of your liability insurer with respect to

              the issue of liability in this case. This request is to include any and all documents sent by you or

              sent on your behalf by someone other than yourself.




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                                                               8.

                        Please produce a true, accurate and complete copy of any report or statement made by

              you and given to the police, to any insurer, or to any other person or entity concerning the subject

              incident.

                                                               9.

                        Please produce true, accurate and complete copies of any and all photographs, documents,

              or demonstrative evidence relevant to any of the issues in this lawsuit and/or that you intend to

              use in the defense of this case at trial.

                                                               10.

                        Please produce true, accurate and complete copies of any and all evidence in your

              possession to include documents, medical records, photographs, sound or video recordings, or

              any documentation by any other name that concerns Plaintiffs’ physical or medical condition,

              injuries or damages that has not been supplied to you by Plaintiffs’ counsel.

                                                               11.

                        Please produce a true, accurate and complete copy of any videotape on which Plaintiff’s

              fall was recorded or captured in any way on any of the store’s security and/or surveillance

              cameras.

                                                               12.

                        Please produce a true, accurate and complete copy of any reservation of rights letter or

              other documentation of any kind received from any insurer that purports to deny insurance

              coverage, or to reserve the right to contest the issue of coverage, for the claims made in this

              lawsuit.




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                                                                13.

                        Please produce true, accurate and complete copies of any and all documents filed as a

              part of an insurance claim with any insurer relating to the incident at the basis of this lawsuit.

                                                                14.

                        Please produce true, accurate and complete copies of any and all documents that support,

              are referred to, or otherwise pertain to any of your responses to Plaintiff’s First Continuing

              Interrogatories, identifying which interrogatory response each document supports, is referenced,

              or otherwise pertains.

                                                                15.

                        Please produce true, accurate and complete copies of any and all policies and procedures

              in effect as of December 15, 2019, through the present date, which policies and procedures relate

              in any way to the inspecting, cleaning, or warning of potentially hazardous conditions of, or

              otherwise reporting problems with the floors, aisles, checkout areas, or other areas in the store at

              issue in this litigation.

                                                                16.

                        Please produce true, accurate and complete copies of any documents, sheets or checklists,

              by whatever known or called, which listed, described, documented or otherwise recorded the

              number and times that the premises of the store at issue in this litigation was inspected on

              December 15, 2019.

                                                                17.

                        Please produce true, accurate and complete copies of any time sheets, pay stubs or other

              documents showing the number of hours worked, by whatever name known or called, for each

              and every employee and/or agent of Defendants’ working at the store at issue in this litigation on



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              December 15, 2019.

                                                                 18.

                        Please produce a true, accurate and complete copy of Defendants’ employee and

              management handbooks (by whatever name known or called) or other similar documents in effect

              as of December 15, 2019 through the present date.

                                                                 19.

                        Please produce true, accurate and complete copies of any and all training materials

              provided to any employees, managers and/or agents who were expected to work at the store at

              issue in this litigation as of December 15, 2019 through the present date.

                                                                 20.

                        Please produce true, accurate and complete copies of any and all warning signs or placards

              used to inform customers and invitees at the store at issue that the floor in and around the area,

              section or aisle of the store where the incident at issue in this litigation occurred was hazardous.

                                                                 21.

                        Please produce any and all inspection and sweep logs for the area in and around the specific

              area, section or aisle of the store where the incident at issue in this litigation as of December 15,

              2019, and for one week before and after that date.

                                                                 22.

                        Please produce all documents or logs which contain Defendants’ written policy on the

              frequency of mopping, sweeping, cleaning, and maintaining the area of the store at issue in this

              litigation where Plaintiff fell.




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                                                                     23.

                        Please produce all logs which reference the frequency of stocking or restocking the area of

              the store at issue in this litigation where Plaintiff fell for the date of December 15, 2019 and for

              one week before and after that date.

                                                                     24.

                        Please produce all analyses, grading and/or evaluations of the completion of the inspection

              or sweep logs conducted for the purpose of determining whether inspection and sweeping of the

              store at issue in this litigation conformed with Defendants’ policy.

                                                                     25.

                        Please produce Defendants’ document retention policy with respect to the store at issue

              in this litigation’s incident reports for the time period of the subject incident.

                                                                     26.

                        Please produce a blank copy of the incident report form utilized at the time of the subject

              accident as well as any other forms generated at the store level which accompany the transmission

              of the incident report to the next reporting level.

                                                                     27.

                        Please produce a floor or merchandising plan which depicts the arrangement of the

              merchandise aisles and cash registers in the store at issue in this litigation as they existed at the time

              of the subject incident.

                                                                     28.

                        Please produce true, accurate and complete copies of any documents that support specific

              defenses pled in your answer, identifying the defense to which each document pertains.




                                                                    10


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                    This 30th day of November, 2021.




                                                       PAYNE & DU TOIT

                                                       __/s/ Catherine Payne ___________________
                                                       Catherine D. Payne
                                                       Georgia Bar No. 463911
                                                       Anne Marie du Toit
                                                       Georgia Bar No. 213320

                                                       2275 Marietta Blvd NW
                                                       Ste. 270-245
                                                       Atlanta, GA 30318-2019
                                                       cpayne@pdtfirm.com
                                                       adutoit@pdtfirm.com

                                                       Attorneys for Plaintiff




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                                                                                        Superior Court of Cherokee County
                                                                                                                 **E-Filed**
                                                                                                                21CVE2072
                                 IN THE SUPERIOR COURT OF CHEROKEE                COUNTY            12/2/2021 8:55 AM PG
                                                                                                         Patty Baker, Clerk
                                              STATE OF GEORGIA                                                Civil Division

              TONYA PRICE,

                                         Plaintiff,

              vs.
                                                                    CIVIL ACTION
              THE KROGER CO.;                                       FILE NO. 21CVE2072
              XYZ CORPORATIONS 1-3


                                         Defendants.


                PLAINTIFF’S MOTION FOR SPECIAL APPOINTMENT OF PROCESS SERVER

                    COMES NOW, Plaintiff, and moves pursuant to O.C.G.A. § 9-11-4(c), for an order

             appointing Jeff Dolbier to serve the Defendants with a copy of the Summons and Complaint in the

             above-styled action. As grounds therefore, Plaintiff shows that prompt service of process upon

             Defendants is important, and that Jeff Dolbier is over the age of 18 years, and is not an interested

             party to this case. See December 1, 2021 Affidavit of Special Process Server executed by Jeff

             Dolbier, attached hereto as Exhibit A.

                    WHEREFORE, Plaintiff prays that this motion be granted, and that Jeff Dolbier be appointed

             to serve process on Defendants. A proposed order is attached hereto as Exhibit B.

                     Respectfully submitted, this 2nd day of December, 2021.

                                                                  PAYNE & DU TOIT

                                                                  /s/ Catherine Payne
              Catherine D. Payne                                Catherine D. Payne
              Georgia Bar No. 463911                            Georgia Bar No. 463911
              Anne Marie du Toit                                Anne Marie du Toit
              cpayne@pdtfirm.com                                Georgia Bar No. 213320
              adutoit@pdtfirm.com
                                                                Attorneys for Plaintiff




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                                    EXHIBIT A




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                                                                21CVE2072




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                                    EXHIBIT B




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                                 IN THE SUPERIOR COURT OF CHEROKEE COUNTY
                                              STATE OF GEORGIA

              TONYA PRICE,

                                         Plaintiff,

              vs.
                                                                  CIVIL ACTION
              THE KROGER CO.;                                     FILE NO. 21CVE2072
              XYZ CORPORATIONS 1-3


                                         Defendants.



                                      ORDER APPOINTING PROCESS SERVER

                    Plaintiff’s Motion For Special Appointment of Process Server having been read and

             considered, and it appearing to the Court that such appointment is authorized by O.C.G. A. § 9-

             11-4 (c) and should be made.

                    IT IS HEREBY ORDERED that Jeff Dolbier is specially appointed, authorized, and

             directed to serve a copy of the Summons and Complaint in this Action on Defendants, and to make

             and file a proof of service as required by law.




                    SO ORDERED this _______ day of _________________, 2021.



                                                           _____________________________
                                                           Judge, Superior Court of
                                                           Cherokee County, Georgia




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                                                                                    Superior Court of Cherokee County
                                                                                                             **E-Filed**
                                                                                                            21CVE2072
                                 IN THE SUPERIOR COURT OF CHEROKEE            COUNTY           12/2/2021 11:43 AM PG
                                                                                                     Patty Baker, Clerk
                                              STATE OF GEORGIA                                            Civil Division

              TONYA PRICE,

                                         Plaintiff,

              vs.
                                                                  CIVIL ACTION
              THE KROGER CO.;                                     FILE NO. 21CVE2072
              XYZ CORPORATIONS 1-3


                                         Defendants.



                                      ORDER APPOINTING PROCESS SERVER

                    Plaintiff’s Motion For Special Appointment of Process Server having been read and

             considered, and it appearing to the Court that such appointment is authorized by O.C.G. A. § 9-

             11-4 (c) and should be made.

                    IT IS HEREBY ORDERED that Jeff Dolbier is specially appointed, authorized, and

             directed to serve a copy of the Summons and Complaint in this Action on Defendants, and to make

             and file a proof of service as required by law.




                    SO ORDERED this _______ day of _________________, 2021.

                                                                                    12/2/2021
                                                           _____________________________
                                                           Judge, Superior Court of
                                                           Cherokee County, Georgia




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                    Case 1:21-cv-05325-SCJ Document 1-1 Filed 12/30/21 Page 48 of 48
                                                                          Superior Court of Cherokee County
                                                                                                   **E-Filed**
                                                                                                  21CVE2072
                                                                                      12/7/2021 4:28 PM TB
                                                                                           Patty Baker, Clerk
                                                                                                Civil Division




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